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 7
                       IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10   ROBERT V. ROSS AND LAURIE PLATERO-ROSS, Case No. 17-cv-06699-EJD

11                 Plaintiff,                                   NOTICE OF
                                                                SETTLEMENT
12
                   vs.
13
     BANK OF AMERICA N.A., EQUIFAX
14   INFORMATION SERVICES LLC, TRANS UNION,
15   LLC., CREDIT PLUS, INC., and DOES 1-10.

16
              Defendants.
17
     TO THE COURT AND ALL ATTORNEYS OF RECORD:
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     Please take notice that the Plaintiffs and the remaining Defendants, Bank of America,
19
     N.A., and Equifax Information Services, LLC., have reached a resolution. Plaintiffs
20
     request the Court allow the parties up to and including August 2, 2018, to finalize the
21
     settlement. Upon that time the Plaintiffs will have filed the required dismissals or notify
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     the Court why a dismissal has not been filed.
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     Respectfully submitted,
24
     Date: July 5, 2018 /s/ Balam O. Letona
25                      Balam O. Letona, Esq.
                        Attorney for Plaintiffs
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27                                               1
28                                NOTICE OF SETTLEMENT
